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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            LEWIS T. BABCOCK, JUDGE

  Civil Case No. 1:17-cv-02519-LTB-GPG


  CITIZENS FOR A HEALTHY COMMUNITY;

  HIGH COUNTRY CONSERVATION ADVOCATES;

  CENTER FOR BIOLOGICAL DIVERSITY;

  WILDEARTH GUARDIANS; and

  WILDERNESS WORKSHOP;

        Plaintiffs,
  v.

  UNITED STATES BUREAU OF LAND MANAGEMENT, an agency of the U. S.
  Department of Interior;

  DAVID BERNHARDT, in his official capacity as Acting U.S. Secretary of the
  Interior;

  STEPHANIE CONNOLLY, in her official capacity as Southwest District Manager;

  UNITED STATES FOREST SERVICE, an agency of the U.S. Department of
  Agriculture;

  SONNY PERDUE, in his official capacity as U.S. Secretary of Agriculture; and

  SCOTT G. ARMENTROUT, in his official capacity as Forest Supervisor;

        Defendants,

  and

  SG Interests I, Ltd. and SG Interests VII,
  Ltd.,

        Intervenor-Defendants.
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  ______________________________________________________________________________

                         Memorandum Opinion and Order
  _____________________________________________________________________________
  Babcock, J.

        This matter is before me on Plaintiffs’ Amended Complaint for Declaratory

  and Injunctive Relief and Petition for Review of Agency Action. ECF No. 14.

  Plaintiffs seek judicial review of: (1) Defendant Bureau of Land Management’s

  (“BLM”) approval of a master development plan; (2) Defendant United States Forest

  Service’s (“USFS”) approval of certain natural gas wells, well pads, and related

  infrastructure; and (3) both Defendants’ approval of related applications for permits

  to drill. See Addendum to this Opinion for a list of acronyms used. I refer to USFS

  and BLM collectively as “Defendants.”

        The public officers named as defendants in this case have been updated

  pursuant to Fed. R. Civ. P. 25(d). SG Interests I, Ltd. and SG Interests VII, Ltd.

  (“Intervenor-Defendants”) properly intervened. ECF No. 26. The matter is fully

  briefed and the administrative records (“AR”) are lodged with the Court. ECF Nos.

  44, 45, 47, 50–52.

        After carefully analyzing the briefs and the relevant portions of the record, I

  DEFER final ruling pending further briefing on remedies in accordance with this

  Order.

                                          I.       LAW

            A. The National Environmental Policy Act (“NEPA”)

        NEPA is the “basic national charter for protection of the environment” and its

  “procedures must insure that environmental information is available to public
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  officials and citizens before decisions are made and before actions are taken.” 40

  C.F.R. § 1500.1. Congress enacted NEPA to ensure that all federal agencies

  consider the environmental impacts of their actions to prevent or eliminate damage

  to the environment. Marsh v. Oregon Natural Resources Council, 490 U.S. 360, 371

  (1989); see 42 U.S.C. § 4321. NEPA’s requirements are augmented by longstanding

  regulations issued by the Council on Environmental Quality, to which courts owe

  substantial deference. New Mexico ex rel. Richardson v. Bureau of Land Mgmt., 565

  F.3d 683, 703 (10th Cir. 2009) (“New Mexico”) (citing Marsh, 490 U.S. at 372).

        Under NEPA, federal agencies must “include in every recommendation or

  report on proposals for legislation and other major Federal actions significantly

  affecting the quality of the human environment, a detailed statement by the

  responsible official on,” in relevant part, the environmental impact of the proposed

  action and alternatives to the proposed action. 42 U.S.C. § 4332(C)(i)–(iii). This

  report may be an Environmental Assessment (“EA”), where the agency determines

  whether the action “is likely to significantly affect the quality of the human

  environment.” New Mexico, 565 F.3d at 703 (alterations and quotations omitted). If

  the agency finds that the action is not likely to significantly affect the quality of the

  human environment, it may issue a “finding of no significant impact” (“FONSI”). Id.

  (quoting 40 C.F.R. § 1508.13). If so, the agency must prepare a more thorough

  Environmental Impact Statement (“EIS”)—the agency may also skip the EA and

  directly prepare an EIS. Id. at 703, n.23.




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        The requirement to complete an EIS aims to ensure “that the agency, in

  reaching its decision, will have available, and will carefully consider, detailed

  information concerning significant environmental impacts” and guarantees “that

  the relevant information will be made available to the larger audience that may also

  play a role in both the decisionmaking process and the implementation of that

  decision.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989).

            B. Authority to Lease Oil and Gas on Federal Land

        Through the Mineral Leasing Act, 30 U.S.C. §§ 181–287, the Federal Land

  Policy and Management Act, 43 U.S.C. §§ 1701–1787, and related regulations, BLM

  has authority to lease public lands with oil and gas reserves to private industry for

  development. W. Energy All. v. Zinke, 877 F.3d 1157, 1161 (10th Cir. 2017). Lands

  contained in national forests have additional oversight from the Secretary of

  Agriculture. 30 U.S.C. § 226(h).

        In enacting the Federal Land Policy and Management Act, Congress aimed to

  empower the Secretary of the Interior to manage the United States’ public lands. 43

  U.S.C. § 1701. The Secretary, through BLM, “shall manage the public lands under

  principles of multiple use and sustained yield.” 43 U.S.C. § 1732(a). “Multiple use”

  means “a combination of balanced and diverse resource uses that takes into account

  the long-term needs of future generations for renewable and nonrenewable

  resources, including, but not limited to, recreation, range, timber, minerals,

  watershed, wildlife and fish, and natural scenic, scientific and historical values . . .

  .”43 U.S.C. § 1702(c).Congress entrusts BLM with the “orderly and efficient

  exploration, development and production of oil and gas.” 43 C.F.R. § 3160.0-4; 43
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  U.S.C. § 1732(b). This is done by using a “three-phase decision-making process.” W.

  Energy All. v. Zinke, 877 F.3d at 1161 (quoting Pennaco Energy, Inc. v. U.S. Dep’t of

  Interior, 377 F.3d 1147, 1151 (10th Cir. 2004)).

        In the first phase, BLM creates a resource management plan (“RMP”), which

  is “designed to guide and control future management actions and the development

  of subsequent, more detailed and limited scope plans for resources and uses.” 43

  C.F.R. § 1601.0–2; id. Part of an RMP indicates the lands open or closed to the

  development of oil and gas, and subsequent development must abide by the terms of

  the RMP. W. Energy All., 877 F.3d at 1161–62. The approval of an RMP “is

  considered a major Federal action significantly affecting the quality of the human

  environment” and thus requires an EIS. 43 C.F.R. § 1601.0–6.

        In the second phase, through state offices, BLM identifies parcels that it will

  offer for lease, responds to potential protests of the suggested parcels, and conducts

  “a competitive lease sale auction.” W. Energy All., 877 F.3d at 1162 (citing 43 C.F.R.

  Subpart 3120). During the identification of parcels available for leasing, a 2010

  Department of Interior policy mandates additional review, including: (1) an

  interdisciplinary team reviewing the parcels proposed for leasing and conducting

  site visits; (2) identifying issues BLM must consider; and (3) obliging BLM to

  consult other stakeholders “such as federal agencies, and State, tribal, and local

  governments.” Id.

        In the final phase, after the sale of a lease, BLM “decides whether specific

  development projects will be permitted on the leased land.” Id.; see 43 C.F.R. §



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  3162.3-1; 30 U.S.C. § 226. BLM must approve applications for permits to drill after

  parcels of land are leased. 30 U.S.C. § 226(g).

            C. The Administrative Procedure Act

        NEPA provides no private cause of action and thus Plaintiffs’ claims arise

  under the Administrative Procedure Act. New Mexico, 565 F.3d at 704. Under the

  Act, a person who is suffering a “legal wrong because of agency action” is entitled to

  judicial review. 5 U.S.C. § 702. An agency’s NEPA compliance is reviewed to see

  whether it is “arbitrary, capricious, an abuse of discretion, or otherwise not in

  accordance with law.” New Mexico, 565 F.3d at 704 (quoting 5 U.S.C. § 706(2)(a)).

  The agency action is arbitrary and capricious if the agency

        (1) entirely failed to consider an important aspect of the problem, (2)
        offered an explanation for its decision that runs counter to the evidence
        before the agency, or is so implausible that it could not be ascribed to a
        difference in view or the product of agency expertise, (3) failed to base
        its decision on consideration of the relevant factors, or (4) made a clear
        error of judgment.

  Id. (quoting Utah Envtl. Cong. v. Troyer, 479 F.3d 1269, 1280 (10th Cir. 2007))

  (quotations omitted).

        When reviewing factual determinations made by agencies under NEPA, short

  of a “clear error of judgment,” an agency is required to take “hard look” at

  information relevant to a decision. Id. A court considers only the agency’s reasoning

  at the time it made its decision, “excluding post-hoc rationalization concocted by

  counsel in briefs or argument.” Id. (citing Utahns for Better Transp. v. U.S. Dep’t of

  Transp., 305 F.3d 1152, 1165 (10th Cir. 2002)); see 3 Charles H. Koch, Jr. and

  Richard Murphy, Admin. L. & Prac. § 9:26 (3d ed. 2018) (“Without engaging in


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  review of the actual resolution of factual questions of this variety, courts by using

  the hard look standard assure that the agency did a careful job at fact gathering

  and otherwise supporting its position.”).

        In reviewing an EIS or EA, the role of a federal court under NEPA is to

  simply “ensure that the agency has adequately considered and disclosed the

  environmental impact of its actions.” Coal. of Concerned Citizens To Make Art

  Smart v. Fed. Transit Admin. of U.S. Dep’t of Transportation, 843 F.3d 886, 902

  (10th Cir. 2016) (quoting Wyo. v. U.S. Dep’t of Agric., 661 F.3d 1209, 1256–57 (10th

  Cir. 2011)). As such, the agency action is presumed valid and the burden of proof

  rests upon those challenging the agency action. New Mexico, 565 F.3d at 704

  (quoting Citizens’ Comm. to Save Our Canyons v. Krueger, 513 F.3d 1169, 1176

  (10th Cir. 2008)). “So long as the record demonstrates that the agencies in question

  followed the NEPA procedures . . . the court will not second-guess the wisdom of the

  ultimate decision.” Utahns for Better Transp., 305 F.3d at 1163 (quoting Robertson

  v. Methow Valley Citizens Council, 490 U.S. at 350).

                                     II.      BACKGROUND

            A. Bull Mountain Master Development Plan

        The Bull Mountain Unit (the “Unit”) is located in the Colorado River basin,

  approximately 30 miles northeast of the town of Paonia and is bisected by State

  Highway 133. UNC0027453 (I use the numbering system consistent with the

  Administrative Record). The Unit consists of: 440 acres of federal surface lands

  underlain by a mineral estate administered by BLM; 12,900 acres of split-estate

  lands consisting of private surface and BLM-administered minerals; and 6,330
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  acres of fee land consisting of private surface and private minerals regulated by the

  Colorado Oil and Gas Conservation Commission. UNC0027470.

        In 2008 and 2009, BLM sought input for a master development plan (“MDP”)

  concerning 2,300 acres of land owned by Intervenor-Defendants within the Unit.

  UNC0055338, 0055341. An MDP typically provides infrastructural information

  regarding a planned cluster of wells and associated facilities adjacent to an oil and

  gas unit or field. UNC0027451. BLM completed a preliminary EA, but then elected

  to complete an EIS regarding the Unit’s MDP. UNC0055344, 0078547. In January

  2015, BLM published a draft EIS with an opportunity for public comment.

  UNC0005710–11. In July 2016, BLM published a final EIS. UNC0042302.

        In the final EIS, BLM considered four alternatives: alternative A was a no-

  action alternative and alternatives B, C, and D contained a development of 146 new

  gas wells and four new water disposal wells. UNC0027457. Alternatives B, C, and D

  contained 36, 35, and 33 new well pads, respectively. Id. BLM selected alternative D

  as its preferred alternative. Id. It assumed the life of the project would be at least

  50 years. UNC0027501. In October 2017, BLM approved the MDP in a Record of

  Decision. UNC0042509. This Record of Decision additionally approved an

  application for permit to drill (“APD”) by Intervenor-Defendants. UNC0042453.

  BLM notes that since the commencement of this suit, it has approved: (1) three

  other APDs in the same well pad location as the original APD; (2) two lateral

  extensions for an existing well bore on a different well pad; and (3) two APDs on

  well pads located on private surface lands. Defs.’ Resp., ECF No. 50 at 5.



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            B. 25-well Project

        The 25-well Project addressed six APDs—three from Intervenor-Defendants

  and three from another company. UNC0097956. The 25-well Project is situated

  between Paonia and Carbondale. UNC0097964. It involves the construction of 25

  natural gas wells on four new well pads and one existing well pad and the approval

  of 19 additional APDs. UNC0097956–57. One proposed well pad occurs on split

  estate lands with federal minerals underneath private surface land. UNC0097944.

  Three other well pads are located on federally managed lands. Id. The fifth well pad

  is located on private surface lands over private mineral estate, but is planned to

  bore horizontally into adjacent federal mineral estate. Id.

        In March 2015, BLM and USFS announced their intention to complete an EA

  for the 25-well Project and invited public comment. UNC0079341–42. In June, the

  agencies issued a preliminary EA with an invitation for additional public comment.

  UNC0079346. In September, the agencies issued a final EA and a draft FONSI.

  UNC0097938, 0098284. In December 2015, both agencies signed FONSIs and

  accepted the EA. UNC0098295, 0098306, 0098311.

                                      III.   ANALYSIS

        Plaintiffs are non-profit organizations who focus on environmental issues.

  ECF No. 14 at 6–10. Plaintiffs challenge the NEPA review process performed by

  Defendants regarding the Unit’s MPD and the 25-well Project, alleging generally

  that Defendants “failed to consider a reasonable range of alternatives” and “failed to

  take a hard look at the direct, indirect, and cumulative impacts to people and the

  environment.” Pls.’ Br., ECF No. 47 at 11, 15.
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             A. Consideration of Alternatives

         Plaintiffs argue that Defendants considered an insufficiently narrow range of

   alternatives in violation of NEPA. ECF No. 47 at 11. They contend that Defendants

   should have considered a “phased development alternative . . . which would involve

   clustering drilling geographically to maintain open areas and allowing concentrated

   development that proceeds in stages rather than all at once.” Id. at 12. This

   proposed alternative would involve clustering oil and gas development in certain

   areas, then moving to other areas and using interim surface reclamation measures

   as a way to preserve open space for wildlife and recreation. Id.

         Defendants respond that Plaintiffs: (1) misunderstand the design features

   accompanying alternatives C and D; and (2) ignore Defendants’ explanation of why

   it did not further consider an extended development timeframe. ECF No. 50 at 8.

   Defendants note that in alternative C, they considered a “progressive development

   plan” which contained “timing limitations that would allow for drilling and

   construction in phased timeframes.” Id. at 11–12. This plan considered voluntary

   seasonal timing limitations for private mineral development and included methods

   to monitor wells that would reduce disturbances to wildlife. Id. at 12. Intervenor-

   Defendants add that Plaintiffs have not offered a sufficient explanation of what a

   phased development plan would contain. Intervenor-Defs.’ Br., ECF No. 51 at 9–10.

         The exploration of alternatives is the “heart” of an EIS, where the agency

   must rigorously explore and objectively evaluate all reasonable alternatives to the

   proposed action. New Mexico, 565 F.3d at 708 (citing 40 C.F.R. § 1502.14). In an EA,

   the agency must provide a “brief discussion” of alternatives. 40 C.F.R. 1508.9(b); see
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   also Greater Yellowstone Coal. v. Flowers, 359 F.3d 1257, 1278–79 (10th Cir. 2004)

   (a less extensive search for reasonable alternatives is required under NEPA when

   an agency makes an informed decision that the environmental impact of proposed

   action will be small).

          “While NEPA ‘does not require agencies to analyze the environmental

   consequences of alternatives it has in good faith rejected as too remote, speculative,

   or impractical or ineffective,’ it does require the development of ‘information

   sufficient to permit a reasoned choice of alternatives as far as environmental

   aspects are concerned.’” New Mexico, 565 F.3d at 708 (quoting Colo. Envtl. Coal. v.

   Dombeck, 185 F.3d 1162, 1174 (10th Cir. 1999). As such, an agency need only

   evaluate alternatives that are significantly distinguishable from the considered

   alternatives. Id. at 708–09 (quoting Westlands Water Dist. v. U.S. Dep’t of the

   Interior, 376 F.3d 853, 868 (9th Cir. 2004)).

          The sufficiency of an agency’s analysis of alternatives in an EIS is measured

   against two guideposts using a “rule of reason.” Id. at 709. First, an alternative is

   reasonable only if it falls within the agency’s statutory mandate. Id. (citing

   Westlands, 376 F.3d at 866). “Second, reasonableness is judged with reference to an

   agency’s objectives for a particular project.” Id. (citing cases). Further, if “the action

   subject to NEPA review is triggered by a proposal or application from a private

   party, it is appropriate for the agency to give substantial weight to the goals and

   objectives of that private actor.” Citizens’ Comm. to Save Our Canyons v. U.S.

   Forest Serv., 297 F.3d 1012, 1030 (10th Cir. 2002) (citing cases). However, this does


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   not “allow an agency to define the objectives so narrowly as to preclude a reasonable

   consideration of alternatives. Id. (citing Davis v. Mineta, 302 F.3d 1104 (10th Cir.

   2002)).

         In the EIS and EA, Defendants did not consider an alternative explicitly

   named “phased development,” but they provided aspects of Plaintiffs’ suggestions

   such that they were not significantly distinguishable from the considered

   alternatives. See New Mexico, 565F.3d at 708–09. Alternative C was a modification

   of Intervenor-Defendants’ proposal. UNC0042479; ECF No. 50 at 10. It “was

   developed by modifying the geographic information system [] model to minimize

   surface disturbance by putting greater emphasis on soil types and proximity to

   existing roads and collocating roads and pipelines.” UNC0042479. “This, in turn,

   would reduce the miles of roads and pipelines needed to service the pad sites . . . .”

   Id. Further, seasonal winter timing limitations “would limit drilling and

   construction over private and federal minerals to no more than one-quarter of the

   Unit in any given period . . . .” Id. Under the preferred alternative D, Intervenor-

   Defendants meet with Defendants annually to pace development and mitigation

   activities. UNC0026840; ECF No. 51 at 13.

         Additionally, alternative C contained a progressive development plan which

   “could mitigate for impacts on big game during construction or resource

   development activities in sensitive winter habitats.” UNC0027928–29. This would

   effectively reduce traffic in parts of the Unit. UNC0027994. Further, Defendants

   required that Intervenor-Defendants use multiple well pad sites, which would



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   reduce surface disturbance and overall habitat fragmentation. UNC0026840. Also,

   Defendants required Plaintiff to comply with interim reclamation design features.

   UNC0026845. Finally, Defendants explained why it did not pursue an alternative

   with an extended drilling horizon, stating that they “assumed that development

   would be spread out over 10 or more years . . . consequently, a separate alternative

   longer than 10 years was eliminated from analysis.” UNC0042482.

         Taken as a whole, Plaintiffs have not made a sufficient showing that their

   proposed alternative significantly differs from certain aspects of the alternatives

   considered.

         In the EA, Defendants briefly explained why they chose to eliminate certain

   proposed alternatives from detailed study, writing that

         Both the five year timeframe of development and efforts by both
         operators to drill multiple wells targeting adjacent resources from each
         of the well pads in this proposed action is consistent with the intent of
         Federal best management practices to develop the Federal mineral
         resource in a logical and timely manner and reduce unnecessary
         disturbance by drilling from fewer locations on the landscape.

   UNC0097999. Additionally, Defendants assumed multi-well pads for development,

   UNC0097978; discussed interim reclamation features, UNC0097997; and listed

   site-specific design features and best management practices, UNC0098146–89. As

   such, Defendants explored aspects of Plaintiffs’ proposed alternative and provided

   sufficient explanation for why they did not explore other aspects of Plaintiffs’

   suggestions.




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               B. Direct, Indirect, and Cumulative Impacts to People and Environment

          In the EIS and EA, Plaintiffs claim that Defendants failed to take a hard look

   at: (1) the severity and impacts of greenhouse gas (“GHG”) pollution and climate

   change; (2) the severity and impacts of hydraulic fracturing on water resources and

   human health; and (3) the cumulative impacts of air quality, water quantity, and

   wildlife.

          In an EIS or EA, federal agencies must consider the direct, indirect, and

   cumulative predicted impacts of a proposed action. New Mexico, 565 F.3d at 703

   (citing 42 U.S.C. § 4332(2)(C); 40 C.F.R. pt. 1502 & §§ 1508.11, 1508.25(c));

   Hillsdale Envtl. Loss Prevention, Inc. v. U.S. Army Corps of Engineers, 702 F.3d

   1156, 1166 (10th Cir. 2012). “The significance of an impact is determined by the

   action’s context and its intensity.” Hillsdale, 702 F.3d at 1166 (citing Middle Rio

   Grande Conservancy Dist. v. Norton, 294 F.3d 1220, 1224 (10th Cir. 2002)).

   “Applicable regulations require agencies to consider ten factors when assessing

   intensity, including the proposed action’s effects on public health, the unique

   characteristics of the geographic area, the uncertainty of potential effects, and the

   degree of controversy surrounding the effects on the human environment.” Id.

   (citing 40 C.F.R. § 1508.27(b)).

                        GHG Pollution and Climate Change

          Plaintiffs contend that Defendants failed in their analysis of: (1) the

   foreseeable indirect impacts of oil and gas; (2) the cumulative impacts of GHG

   pollution and climate change; and (3) the magnitude and severity of GHG emissions

   from the Unit’s EIS and the 25-well Project’s EA (collectively, the “Projects”).

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                                 Foreseeable Indirect Impacts of Oil and Gas

         Plaintiffs argue that in the EIS and EA, Defendants provided no analysis of

   the indirect impacts of oil and gas production, specifically the emissions resulting

   from the eventual combustion of those fuels. ECF No. 47 at 17. Defendants respond

   that they have “repeatedly explained that available scientific models could not

   perform such precise calculations.” ECF No. 50 at 17. Defendants continue that “it

   is unknown which specific uses will be made of those minerals, where those uses

   will occur, what type and amount of GHG emissions will result from those uses, and

   what incremental effects those emissions may have on climate change.” Id.

   Intervenor-Defendants add that it would be inappropriate and irrelevant for

   Defendants to analyze downstream combustion at this time because: (1) the Unit’s

   MDP is an umbrella analysis “meant to facilitate separate actions that will actually

   authorize resource extraction . . .”; (2) BLM’s rejection of the MDP would not

   invalidate Intervenor-Defendants’ existent leases; and (3) if BLM denied the 25-well

   Project, “federal minerals would be drained through oil and gas development on

   private mineral estate adjacent to the 25-Well Project . . . .” ECF No. 51 at 15–16.

          “Indirect impacts are defined as being caused by the action and are later in

   time or farther removed in distance but still reasonably foreseeable.” Utahns for

   Better Transp., 305 F.3d at 1177 (citing 40 C.F.R. § 1508.8(b)). An effect is

   considered reasonably foreseeable if it is “sufficiently likely to occur that a person of

   ordinary prudence would take it into account in reaching a decision.” Colo. Envtl.

   Coal. v. Salazar, 875 F. Supp. 2d 1233, 1251 (D. Colo. 2012) (citing cases).



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         Courts with persuasive authority have found that combustion emissions are

   an indirect effect of an agency’s decision to extract those natural resources. See San

   Juan Citizens All. v. U.S. Bureau of Land Mgmt., 326 F.Supp. 3d 1227, 1242–43

   (D.N.M. 2018) (collecting cases) (“San Juan”). I found similarly in Wilderness

   Workshop v. United States Bureau of Land Management, when I held that “BLM

   acted in an arbitrary and capricious manner and violated NEPA by not taking a

   hard look at the indirect effects resulting from the combustion of oil and gas in the

   planning area under the RMP.” 342 F. Supp. 3d 1145, 1156 (D. Colo. 2018). As

   explained supra, the creation of an RMP is an initial step in the oil and gas

   development process, followed by the leasing of parcels and approval of APDs.

         Defendants argue that the facts of San Juan differ from the facts here,

   namely that in San Juan, “the agency did not assert that it lacked information to

   quantify GHG emissions” and that the “leases were located on federal lands where

   substantial development had already occurred.” ECF No. 50 at 18. Defendants

   continue that here, “in contrast, very limited production has occurred in the project

   areas, and both agencies lack sufficient information to project with certainty

   potential production from any of the wells[].” Id.

         However, as Plaintiffs point out in their Reply, there has been development of

   gas in the Unit. ECF No. 52 at 7; UNC0027522 (displaying a table listing the Unit’s

   annual gas production from 2010 to 2015). Further, Defendants relied upon

   Intervenor-Defendants’ production estimations when conducting its economic

   analysis. UNC0028001 (“Estimates of production and related tax and royalty



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   revenue based on full build-out were also supplied from [Intervenor-Defendants].”);

   see also Michael Burger & Jessica Wentz, Downstream and Upstream Greenhouse

   Gas Emissions: The Proper Scope of NEPA Review, 41 Harv. Envtl. L. Rev. 109, 183

   (2017) (listing a variety of available of tools that can be used to estimate the indirect

   greenhouse gas emissions from fossil fuel production).

         Simply put, an agency cannot rely on production estimates while

   simultaneously claiming it would be too speculative to rely upon the predicted

   emissions from those same production estimates. Wilderness Workshop, 342 F.

   Supp. 3d at 1155–56 (quoting High Country Conservation Advocates v. United

   States Forest Service, 52 F.Supp.3d 1174, 1196 (D. Colo. 2014)).

         Intervenor-Defendants’ arguments are similarly unpersuasive. They claim

   that there would be no change in the indirect effects of combustion emissions

   because its ability to develop oil and gas resources would be unaffected by

   Defendants’ acceptance of the MDP. ECF No. 51 at 15–16. As such, they essentially

   argue that because the analysis of indirect effects of emissions had not occurred in

   earlier stages, it is now simply too late for such consideration to have any bearing.

   Under this reasoning, it could theoretically reward agencies for skirting NEPA

   requirements in prior stages of oil and gas development, which does not align with

   the informed decision-making goals of NEPA. See Robertson v. Methow Valley

   Citizens Council, 490 U.S. at 349. Further, conducting an analysis of indirect effects

   of combustion emissions at this point aligns with the NEPA mandate that

   “[a]gencies shall integrate the NEPA process with other planning at the earliest



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   possible time to insure that planning and decisions reflect environmental values . . .

   .” 40 C.F.R. § 1501.2. Since it did not happen before, this stage of the development

   process would be the earliest possible time.

         As such, Defendants acted in an arbitrary and capricious manner and

   violated NEPA by not taking a hard look at the foreseeable indirect effects resulting

   from the combustion of oil and gas in the EIS and EA. Defendants must quantify

   and reanalyze the foreseeable indirect effects the emissions.

                                Cumulative Impacts of GHG and Climate Change

         Next, Plaintiffs allege that while Defendants did analyze the cumulative,

   incremental nature of climate change, they failed to provide analysis of GHG

   emissions from the Projects combined with regional and national emissions. ECF

   No. 47 at 19. Plaintiffs continue that Defendants failed to consider cumulative GHG

   emissions resulting from the Projects’ development in a context that sufficiently

   informed the public about the impacts of GHG gas pollution and climate change. Id.

   at 20. Plaintiffs contend that even if an individual project’s impacts were minimal,

   it is the minimal impacts combined together that “amplify the threat” of climate

   change, and as such these impacts may “nevertheless be significant.” Id. at 21.

         Defendants respond that the analysis of the effects of GHG emissions does

   not lend itself to a traditional NEPA cumulative effects analysis. ECF No. 50 at 19.

   Under the traditional analysis, an agency must identify an area where the effects of

   the proposed project would be felt. Id. However, they continue, the global nature of

   climate change would make it impossible for them to sufficiently analyze the

   cumulative effects because “for any GHG-emitting project, an agency would be
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   required to identify any past, present, or reasonably foreseeable GHG-emitting

   projects worldwide, [] regardless of whether the project was undertaken by a

   federal, state, private, or even a foreign entity.” Id. at 20 (emphasis in original).

           “Cumulative impact is the impact on the environment which results from the

   incremental impact of the action when added to other past, present, and reasonably

   foreseeable future actions regardless of what agency (Federal or non-Federal) or

   person undertakes such other actions.” 40 C.F.R. § 1508.7. “Cumulative impacts can

   result from individually minor but collectively significant actions taking place over

   a period of time.” Id.

           The impacts to consider include ecological, aesthetic, historic, cultural,

   economic, social, or health considerations. Wyo. v. U.S. Dep’t of Agric., 661 F.3d at

   1251 (explaining that the scope of an EIS includes cumulative impacts, and thus the

   considerations of direct and indirect effects apply similarly to cumulative effects);

   see 40 C.F.R. §§ 1508.7, 1508.8, 1508.25. However, agencies must only discuss those

   impacts which are reasonably foreseeable. Id. (quoting Utahns for Better Transp.,

   305 F.3d at 1176).

           As such, “cumulative impacts that are too speculative or hypothetical to

   meaningfully contribute to NEPA’s goals of public disclosure and informed

   decisionmaking need not be considered.” Wyo. v. U.S. Dep’t of Agric., 661 F.3d at

   1253.

           [A] meaningful cumulative impact analysis must identify five things: (1)
           the area in which the effects of the proposed project will be felt; (2) the
           impacts that are expected in that area from the proposed project; (3)
           other actions—past, present, and proposed, and reasonably

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         foreseeable—that have had or are expected to have impacts in the same
         area; (4) the impacts or expected impacts from these other actions; and
         (5) the overall impact that can be expected if the individual impacts are
         allowed to accumulate.

   San Juan Citizens All. v. Stiles, 654 F.3d 1038, 1056 (10th Cir. 2011) (quoting

   TOMAC, Taxpayers of Mich. Against Casinos v. Norton, 433 F.3d 852, 864 (D.C.

   Cir. 2006)).

         Defendants: (1) looked at statewide emissions levels from emitting coal-fired

   power plants in Colorado and provided a comparative assessment, UNC0027836–

   39, 0098020–23, 0098259; (2) provided a qualitative analysis of climate change and

   the role played by GHG emissions, and discussed the potential for climate change

   impacts using reports from the Intergovernmental Panel on Climate Change and

   National Climate Assessment, UNC0027655–61, 0098020, 0098110; (3) performed a

   regional cumulative impacts analysis of the future mineral development in the

   region for ten years, relying upon the Colorado Air Resources Management

   Modeling Study to assess predicted impacts on air quality, UNC0098103; and (4)

   followed draft Council on Environmental Quality guidance in predicting that 146

   wells in the Unit and the expected wells in the 25-well Project would respectively

   produce 44,389 and 24,706 metric tons of GHG emissions per year. UNC0027828,

   0027842, 0098103 (listing carbon dioxide alongside other emissions).

         Defendants noted that “the assessment of GHG emissions and climate change

   is extremely complex because of the inherent interrelationships among its sources,

   causation, mechanisms of action, and impacts” and as such, it was impossible to

   attribute a particular climate impact in any given region to GHG emissions from a


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   particular source. UNC0027819. In the EIS and EA, Defendants explain that tools

   did not exist that would allow them to predict how a project’s emissions would

   impact global, regional, or local climate because, at the time, government agencies

   did not have standardized protocols or specific levels of significance by which they

   could quantify climate impacts. UNC0027826, 0098023.

         Plaintiffs fault Defendants for not explaining why it would be impractical for

   BLM to discuss its own cumulative emissions at less than a global scale, but this

   contention misses the mark. Plaintiffs are free to ask such questions, but it is not

   the role of the court to decide whether Defendants choices were ideal; I am merely

   tasked with determining whether Defendants’ analyses met the minimum threshold

   necessary to constitute a “hard look.” W. Watersheds Project v. Bureau of Land

   Mgmt., 721 F.3d 1264, 1273 (10th Cir. 2013).

         I find that Defendants took an appropriately hard look at cumulative climate

   change impacts in the EIS and EA. See Hillsdale, 702 F.3d at 1177–78 (explaining

   that courts are not in a position to decide the propriety of competing methodologies

   and must simply determine whether the agency had a rational basis for employing

   the challenged method, especially when the dispute involves a technical judgment

   within the agency’s area of expertise) (citing cases).

                                Use of the Social Cost of Carbon Protocol

         Next, Plaintiffs argue that Defendants insufficiently examined the ecological,

   economic, and social impacts of the Projects’ predicted GHG emissions. ECF No. 47

   at 22–23. Plaintiffs dispute the reasoning that Defendants lacked tools to predict

   the Projects’ impacts on a large scale and argue that Defendants should have used
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   the social cost of carbon protocol (the “Protocol”), which contextualizes the costs

   associated with climate change. Id. at 23–24. Plaintiffs concede that Defendants are

   not required to conduct a cost-benefit analysis, but argue that Defendants acted in

   an arbitrary and capricious manner by choosing to quantify the benefits of an

   action, but then incorrectly claimed that they could not analyze the related costs. Id.

   at 24–25. Specifically, Plaintiffs argue that Defendants “trumpeted” benefits

   concerning economic, revenue, and employment data for the Projects, but then did

   not quantify the economic costs related to those benefits. Id. at 25–26.

         Defendants respond that they “quantified the project-related GHG emissions,

   presented them in the context of emissions from other sources statewide, and

   included a qualitative discussion of the impacts of climate change.” ECF No. 50 at

   23. They continue that their chosen method to analyze climate change impacts is

   entitled to deference and followed Council on Environmental Quality guidance,

   which discourage the use of cost-benefit analyses in situations involving “important

   qualitative considerations.” Id. at 24; 40 C.F.R. § 1502.23. Defendants also dispute

   that their analyses of economic impacts constitute a cost-benefit analysis. Id. at 25.

   They posit that “[c]hanges in economic activity are not the ‘benefit’ side of a cost-

   benefit analysis.” Id. Defendants add that they did not “trumpet” the benefits, as

   the data appears 500 pages into the EIS, and on pages 61 and 139 of the EA, in

   summaries of the socioeconomic impacts attributed to the Projects or discussions on

   workforce needs. Id.




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         In the EIS, Defendants provide a general description and a national

   assessment of climate change, followed by the main points in a climate change

   analysis regarding the region in which the Unit is located. UNC0026334–37. In

   response to comments that they should use the Protocol, Defendants in the EIS

   explained that estimations using the Protocol was “challenging because it is

   intended to model effects on the welfare of future generations at a global scale

   caused by additional carbon emissions occurring in the present and does not account

   for the complexity of multiple stressors and indicators.” UNC0027330. They added

   that “[u]ncertainty of production rates, volumes, and end uses from the proposed

   action and alternatives would seriously limit the utility of the [P]rotocol.” Id.;

   UNC0098270–71 (describing the same in the EA).

         Concerning the socioeconomic impacts, the EA provided: (1) projections on

   labor workforce needed to accomplish the various phases of development for the 25-

   well Project, UNC0097998 and (2) a model of economic projections for the region,

   noting that those who prioritize increased economic activity would see the proposed

   action as beneficial while those who prioritize environmental protection would see

   the same actions as harmful, UNC0098077. The EIS provided a discussion in the

   context of specific economic sectors, public revenue, public services, community

   social conditions, property value, and nonmarket effects, alongside projected labor

   requirements and costs. UNC0028001–26.

          “[T]he weighing of the merits and drawbacks of the various alternatives need

   not be displayed in a monetary cost-benefit analysis and should not be when there



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   are important qualitative considerations.” 40 C.F.R. § 1502.23. However, if an

   agency chooses to conduct a cost-benefit analysis in an EIS, that analysis should not

   be misleading. High Country, 52 F. Supp. 3d at 1182 (citing cases).

         The Protocol was “designed to quantify a project’s contribution to costs

   associated with global climate change . . . .” High Country, 52 F. Supp. 3d at 1190.

   The High Country court found the agencies’ cost-benefit analysis misleading

   because they “expressly relied on the anticipated economic benefits of [lease

   modifications] in justifying their approval,” but the agencies then explained “that a

   similar analysis of the costs was impossible when such an analysis was in fact

   possible and was included in an earlier draft EIS.” Id. at 1191.

         Here, I agree with Defendants that it is within their discretion to decide

   when to analyze an effect quantitively or qualitatively. See Hillsdale, 702 F.3d at

   1177–78. Further, Plaintiffs have not sufficiently argued that Defendants presented

   economic upsides without discussing downsides. Defendants qualitatively discussed

   the Projects and while they did provide figures on workforce estimates among other

   projections, these do not appear to be the “benefits” side of a cost-benefit analysis.

         An important aspect of High Country was the fact that the agencies had

   attempted to quantify contributions to the costs of global climate change in drafts of

   their EIS, but then removed that portion “in part it seems, in response to an email

   from one of the BLM’s economists that pointed out that the social cost of carbon

   protocol is ‘controversial.’” 52 F.Supp. 3d at 1191. Plaintiffs do not posit that a

   similar action occurred here. This does not speak to the potential effectiveness of



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   the Protocol. Simply put, under 40 C.F.R. § 1502.23, Defendants were not required

   to perform a cost-benefit analysis. They chose not to do so, provided sufficient

   support in the record to show this, and thus satisfied NEPA in this respect. As such,

   Defendants sufficiently examined the ecological, economic, and social impacts of the

   Projects’ predicted GHG emissions.

                       Impacts of Hydraulic Fracturing on Water Resources and
                       Human Health

         Next, Plaintiffs argue that Defendants failed to examine and disclose threats

   to resources and human health from modern oil and gas drilling techniques,

   including hydraulic fracturing. ECF No. 47 at 28–29. Plaintiffs contend that they

   called for Defendants to assess the human health effects of hydraulic fracturing for

   the Projects, but Defendants did not sufficient provide such analysis in the EIS and

   EA. Id. at 29–30. Plaintiffs argue that Defendants did not meaningfully address

   health risks concerning air pollution and ground and surface water contamination,

   and fault Defendants for only relying upon industry to protect groundwater. Id. at

   30–32.

         Defendants argue they sufficiently discussed potential impacts to health and

   safety, noting that the EIS and EA cite studies of risks from spills of produced water

   and extracted fluid minerals, hydraulic fracturing operations and air emissions, and

   risks to worker health and safety. ECF No. 50 at 26–27. Defendants add that the

   EIS and EA included mitigation requirements and incorporated best management

   and monitoring practices. Id. at 27–28. Further Defendants argue that they are

   following NEPA regulations in delaying a full analysis, instead tiering their


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   analysis to provide “an informed discussion when each decision ripens and the

   information necessary for a full analysis is most available.” Id. at 28.

         In their Reply, Plaintiffs argue that the sections of the EIS that Defendants

   point to “inform residents of virtually no actual health consequences other than

   cancer, and mention only a few of the chemical threats people face.” ECF No. 52 at

   16. Plaintiffs argue that Defendants ignored four key studies on the effects certain

   chemicals used in gas development have on humans and the environment. Id.

   Plaintiffs add that the EIS included in its list of references, “but nowhere else

   mention[ed], a key peer-reviewed study from the planning area, McKenzie et al.

   (2012), which used EPA guidance to sample air emissions and calculated both non-

   cancer and cancer risks for residents within and outside one half-mile of oil and gas

   operations.” Id. at 17 (citing UNC0039093).

         In the EIS, Defendants discussed pollutants for the first ten years of the

   Unit’s development, including an analysis of volatile compounds, hazardous air

   pollutant (“HAP”) emissions, near-field impacts, far-field impacts, and air pollutant

   concentrations. UNC0027644–49, 0027827–35. The EA similarly contained an

   analysis of HAPs, air pollutant concentrations, and ambient air quality.

   UNC0098016–20, 0098234–51. Defendants summarized the environmental

   consequences by alternative, including air and water resources. E.g., UNC0027610–

   15, 0027618–19.

         Defendants noted concerns of hydraulic fracturing on underground sources of

   drinking water and that “the quality of water could be degraded by accidental spills



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   or releases of hazardous substances stored or used at the project sites,” 0027766–67,

   0028015, 0098068–72. Further, the EIS and EA note design features, mitigation

   measures, and conditions of approval attached to APDs, which in part involve air

   and water quality concerns (including groundwater contamination). UNC0026831,

   0026835, 0026838, 0026847, 0027600–07, 0098190–91.

         Regarding health impacts, Defendants modeled the estimated maximum

   impacts that could occur from HAP emissions and found them below applicable

   thresholds and noted that “health and quality of life related to air quality are not

   likely to be significantly impacted by project activities for any alternative.”

   UNC0027830, 0028015, 0098103–04. They modeled expected cancer risk from

   suspected carcinogens. UNC0027830–31, 0098022–23. They considered certain

   indicators for the impacts to human health and safety in the storing and handling of

   hazardous materials, including the risk of spills, and discussed related concerns

   surrounding chemicals used in hydraulic fracturing. UNC0027997–8001.

         Defendants note that in the EIS they “appropriately deferred more localized

   and detailed analyses for some resource impacts until the APD approval stages,

   when substantially more will be known about development.” ECF No. 50 at 28. This

   is in accordance with NEPA regulations on “tiering” which “refers to the coverage of

   general matters in broader environmental impact statements . . . with subsequent

   narrower statements or environmental analyses (such as regional or basinwide

   program statements or ultimately site-specific statements) incorporating by

   reference the general discussions and concentrating solely on the issues specific to



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   the statement subsequently prepared.” 40 C.F.R. 1508.28. In the EIS, Defendants

   explained that if they adopt Intervenor-Defendants’ MDP for the Unit, or a modified

   alternative to it, “the exact locations of wells, roads, pipelines, and other facilities

   would be determined when those wells or facilities are proposed for drilling or

   construction as part of an APD.” UNC0027478.

          Plaintiffs argue that Defendants did not sufficiently consider studies that

   Plaintiffs submitted during the comment periods of the EIS and EA. ECF No. 52 at

   16–17. Plaintiffs’ summaries of the studies show concerning impacts. But the

   analysis provided by Defendants, coupled with the regulations on tiering and the

   deference owed to the agencies, lead me to find that Defendants took a sufficiently

   hard look in the EIS and EA at the impacts of hydraulic fracturing on water

   resources and human health.

                        Cumulative Impacts of the Project to Specific Resources

          Plaintiffs argue that Defendants fail to take a hard look at the cumulative

   impacts of the Projects on specific resources, namely air quality, water quantity,

   and wildlife. Discussed supra, cumulative impacts are the impacts on the

   environment which result from the incremental impact of the action when added to

   other past, present, and reasonably foreseeable future actions regardless of what

   agency or person undertakes such other actions. 40 C.F.R. § 1508.7. Agencies must

   only discuss those impacts which are reasonably foreseeable. Wyo. v. U.S. Dep’t of

   Agric., 661 F.3d at 1251.




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                                Cumulative Impacts to Air Quality

         Plaintiffs argue that Defendants erred in analyzing cumulative air quality

   impacts by: (1) improperly relying upon the Colorado Air Resources Management

   Modeling Study (“CARMMS”) rather than undertaking a comprehensive regional

   inventory; and (2) not properly assessing background concentrations of pollutants

   and assuming that air pollution would be acceptable if none of the National

   Ambient Air Quality Standards (“NAAQS”) are violated. ECF No. 47 at 34.

         CARMMS “assesses predicted impacts on air quality and air quality related

   values [] from projected increases in oil and gas development” and “includes

   potential impacts using projections of oil and gas development up to a maximum of

   10 years in the future to reflect realistic estimations of development projections and

   technology improvements.” UNC0027843. NAAQS are “health-based criteria for the

   maximum acceptable concentrations of air pollutants at all locations to which the

   public has access.” UNC0027645.

         Plaintiffs claim that CARMMS was not up to date and did not contain all

   emissions that may impact the study area and notes surrounding states and

   projects that it argues Defendants should have included in a cumulative air quality

   impact inventory. ECF No. 47 at 34. Plaintiffs continue that Defendants did not

   take a hard look at the Projects’ effects of pollutants for which the government has

   established NAAQS. Id. at 35. Plaintiffs specifically point to monitored

   concentrations of ozone close to the Unit that “are already significantly above the

   level of the NAAQS, leaving virtually no room for growth in emissions.” Id.

   Plaintiffs claim that Defendants used data that the Environmental Protection
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   Agency (“EPA”) determined was stale. Id. They conclude that without properly

   modeling air pollution levels, Defendants cannot justify a conclusion that

   incremental increases of ozone would be insignificant. Id. at 36.

         Defendants respond that CARMMS included a sufficient range of projects

   and development and that the agencies would “continue to monitor oil and gas

   development in the region to verify that cumulative emissions rates are consistent

   with the annual rates modeled in CARMMS.” ECF No. 50 at 31. They argue that

   the record shows they sufficiently explained their decision on which geographic

   areas to model and that this decision is afforded deference. Id. at 32. Defendants

   note that modeling information and analysis of impacts to air quality would be

   updated if appropriate. Id. at 32–33. Defendants argue that they followed updated

   EPA numbers. Id. at 33. Finally, Defendants state that they sufficiently explained

   that ambient air quality concentrations would not exceed NAAQS and, as such,

   further NEPA analysis was not required. Id. at 34.

         Indeed, Defendants stated that the “CARMMS high scenario inventory

   allowed for plenty of oil and gas growth in the project area,” UNC0027837, and

   modeled emissions for thirteen planning areas in Colorado, UNC0027846.

   Defendants explained that, contrary to Plaintiffs contention that the pollutant data

   was outdated and the geographic areas should be expanded, it included data from

   state and federal permitted sources, projects from neighboring states, and

   inventories from a local gas play area. ECF No. 50 at 32 (citing UNC0032956,

   0032992, 0033030–32, 0033049).



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         In response to comments, Defendants explained that “[i]n addition CARMMS

   includes emissions from other regional sources, including oil and gas emissions

   throughout the modeling domain, which encompasses all of Colorado, western

   Arizona, western Utah, and north-central New Mexico and extends into southern

   Wyoming, western Nebraska, western Kansas, and northwest Texas.”

   UNC0027343. Further, Defendants explained that it had updated its analysis using

   EPA’s new ozone NAAQS and that they would reprocess data based on revised EPA

   estimates. UNC0027275, 0027844. Finally, Defendants rationally concluded that air

   quality impacts would not cause concentrations that exceed NAAQS and as such, it

   is not the court’s role to mandate that it perform further NEPA analysis.

   UNC0028015, 0098022–24; see Hillsdale, 702 F.3d at 1179 (government agency

   sufficiently explained that emissions levels would be well below NAAQS levels and

   as such, did not need to perform additional modeling).

         Generally, Plaintiffs seem to argue that the information used for cumulative

   air quality impacts were not sufficiently representative, but Defendants explained

   their decision and stated they would update their information if they deemed it

   necessary. With the deference I must afford to Defendants, I find that they took a

   sufficiently hard look at the Projects’ cumulative impacts to air quality.

                                Direct and Cumulative Impacts to Water Quantity

         Next, Plaintiffs argue that Defendants did not sufficiently assess the Projects’

   direct and cumulative impacts to water quantity. ECF No. 47 at 37. Plaintiffs

   contend that Defendants fail to discuss “how water depletions from the Projects will

   impact the land, forests, wildlife, livestock, or human communities in the planning
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   area” and how those impacts would be further compounded by droughts in the

   southwestern United States. Id. Plaintiffs add that Defendants “recognized the

   impacts to surface and groundwater flow patterns in its EA for the Bull Mountain

   MDP,” but then omitted this information in the EIS and did not explain why they

   did so. Id. at 38.

          In the EIS, Defendants explained that “[w]ater quantity effects relate to the

   quantity of water that would be required to accomplish the project objectives of

   drilling and maximizing the recovery of gas while minimizing the costs of

   production and the environmental effects associated with production.”

   UNC0027874. They continued by explaining examples of what direct and indirect

   effects of water quantity may include, but added that “[t]he nature and magnitude

   of some types of potential effects would depend on options that have not yet been

   specified at the programmatic level of analysis.” Id. Defendants discussed the short-

   term effects, which relate to initial well and infrastructure construction.

   UNC0027875. Defendants deferred to Intervenor-Defendants’ augmentation plan on

   the freshwater needs and noted that closed loop or “pitless” systems may be used to

   reduce water needs. Id. They state that the “quantity of water required for

   hydraulic fracturing would vary with the geology encountered in the reservoir rock,

   the type of well (vertical or horizontal/direction and the length(s) of the perforated

   interval(s), and would also depend on the amount of waste fluid that can be recycled

   for subsequent fracturing stages.” UNC0027875–76.




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         Defendants estimated the water usage needed for the alternatives B, C, and

   D to be “up to 2,480 acre-feet of water.” UNC0027885. They found that the demand

   for water would remain relatively steady for about 10 years, estimated total

   cumulative water quantity needed for this time, and that “[t]he impacts on water

   quantity are expected to be less than significant.” UNC0027889–91.

         Defendants wrote that water depletion may impact aquatic wildlife by a loss

   of physical habitat, changes in water quality, sediment accumulation, habitat

   alteration, loss of habitat complexity, or food source reduction. UNC0027911. They

   added that “[d]ue to minimal change to water quantity and quality anticipated,

   direct impacts on agricultural operations are likely to be limited.” UNC0028012.

         In the EA, Defendants discussed surface and groundwater impacts, finding in

   part an increased risk of spills for additional development. UNC98112. On impacts

   to fish, the EA read that the proposed action would result in the depletion of

   approximately 224.4 acre-feet of water from within the Colorado River basin, but

   would not likely affect adversely designated critical habitats for specified

   endangered fish. UNC0098045. Defendants briefly discuss the effects of drought on

   western United States. UNC0098113.

         In their Reply, Plaintiffs argue that Defendants’ recounting of the EIS and

   EA analysis of water quantity prove they insufficiently examined “water quantity

   impacts other than to aquatic species.” ECF No. 52 at 21. Further, Plaintiffs suggest

   I rely upon San Juan, 326 F. Supp. 3d at 1254, for the proposition that the current




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   case is at the stage of the oil and gas leasing process where analysis should be more

   precise than what Defendants provided. Id. at 22.

         I find neither argument compelling to overcome the deference paid to the

   agencies. Defendants provided projections and related explanations of the quantity

   of water needed for the Projects. They noted that the effects were not projected to be

   significant and repeated that conclusion in the context of agricultural concerns.

   Further, the conclusion of the court in San Juan hinged upon the fact that water

   usage was not quantified by BLM, which has occurred here. 326 F. Supp. 3d at

   1254. Therefore, I find that Defendants sufficiently assessed the Projects’ direct and

   cumulative impacts to water quantity.

                                Cumulative Impacts to Wildlife

         Finally, Plaintiffs argue that Defendants failed to take a hard look at the

   cumulative impacts to wildlife in the area. ECF No. 47 at 38. For support, they look

   to a comment letter from the Colorado Division of Wildlife which read that it was

   “concerned with the proposed density and extent of development in the Bull

   Mountain Unit as the area provides high quality habitat for a variety of species, and

   contains important wintering habitat for big game.” UNC0054004. The comment

   had a set of wildlife best management practices concerning oil and gas development,

   where it noted that development activities should be planned at the largest scale

   possible and that development activities should be phased and concentrated, “so

   that large areas of undisturbed habitat for wildlife remain.” UNC0054006–07.

   Plaintiffs contend that Defendants did not take a sufficiently hard look at the

   cumulative impacts to wildlife when it narrowed the scope of the analysis to the
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   Unit’s boundaries and did not include a variety of other planned oil and gas

   developments in adjacent areas. ECF Nos. 47 at 40; 52 at 23–24.

         Plaintiffs continue by looking to comments from Colorado Parks and Wildlife

   who voiced concern that oil and gas development displaced big game “long after

   drilling activities have ceased,” regardless of site-specific conditions of approval or

   best management practices. ECF No. 47 at 39 (quoting UNC0079421). Plaintiffs

   posit that the Unit includes areas that are crucial to elk and deer, especially during

   winter months. Id. They continue that Defendant’s preferred alternative for the

   Unit “would result in at least 26 of the 33 well pads located within and directly

   adjacent to the core areas of the crucial elk and mule deer winter habitat areas, yet

   the agency still failed to provide any meaningful cumulative analysis.” Id. Plaintiffs

   dismiss Defendants’ explanation in the comments that Defendants lacked sufficient

   information for a generalized cumulative impacts analysis because Defendants did

   not explain what information was needed or could not be obtained. Id. at 40.

         Plaintiffs add that the EA was similarly deficient, in that the proposed pad

   locations were nearby elk winter concentration areas, but did not sufficiently

   analyze the related impacts. Id. at 40–41. Additionally, they argue that the EA did

   not analyze cumulative impacts to mule deer at all. Id.

         In the EIS, Defendants defined the cumulative impacts analysis area as the

   Unit, plus a 10-mile buffer around the Unit, except that “each resource topic defines

   the area based on the specific issues and resources being addressed.” UNC0027792.

   Plaintiff notes that Defendants analyzed the cumulative impacts area for mule deer



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   and elk to the Unit itself, apparently excluding the additional 10-mile buffer. ECF

   No. 52 at 22, n.5 (citing UNC0027932). They analyzed direct and indirect impacts to

   deer and elk. UNC0027924. But Defendants recognized that it was “not possible to

   quantify the impacts on the deer and elk populations” and that “[b]ecause of the

   small size of the project, prime winter range would not be impacted by pad

   development, but it could be impacted by habitat avoidance in areas adjacent to

   access roads.” Id. From there, Defendants and Intervenor-Defendants point to

   details of a wildlife habitat plan, certain mitigation measures, an explanation of

   data Defendants were missing, and an acknowledgement that elk and deer habitat

   could be disturbed. ECF No. 50 at 36–37; 51 at 31–33.

         After review of the briefs and record, it is not apparent to me whether

   Defendants considered the 10-mile buffer zone when compiling its cumulative

   impacts analysis regarding mule deer and elk. As such, I find that Defendants did

   not sufficiently explain their analysis in the EIS.

         Compare this to the 25-well Project, where Defendants analyzed the impacts

   of big game species pursuant to federal regulations for the USFS. UNC0098058.

   Enveloping the analysis of mule deer into their analysis of elk, Defendants

   considered a 10-mile buffer area surrounding the proposed treatments and

   activities for the cumulative effects analysis. UNC0092685, 0093185. Defendants

   found that “[d]ue to the scale and type of this project, with limited habitat alteration

   and the low mileage of new road construction, effects of the project at this scale are

   negligible and would not show in the model unless taken to unreasonable levels of



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   precision (beyond that of the data used).” UNC0093185. They continued that

   “[s]imilar actions within the cumulative impacts area, specifically the proposed gas

   development in the Bull Mountain Unit and other future energy development, will

   also result in an incremental reduction in habitat suitability and availability for elk

   and expected changes to distribution,” but “at the scale of the watershed and the

   data analysis unit used to monitor elk populations, this project, even when

   considered with all other projects in the area, is not likely to result in significant

   changes to elk populations.” Id. Defendants sufficiently explained and analyzed

   cumulative impacts to mule deer and elk in the EA.

         Concerning the EIS, while comments from Colorado wildlife agencies

   regarding the wildlife management in the EIS are by no means mandatory

   authority, they provide support to Plaintiffs arguments as to why a larger scope was

   not used. An agency is owed discretion when determining the physical scope it uses

   for measuring impacts, but its choice must be reasoned and not arbitrary. Idaho

   Sporting Cong., Inc. v. Rittenhouse, 305 F.3d 957, 973 (9th Cir. 2002) (citing cases).

         Here, Defendants do not sufficiently explain the scope for cumulative impacts

   regarding mule deer and elk. As such, in the remedies briefing, discussed infra,

   Defendants must clarify the area it used when it analyzed the Unit MDP’s

   cumulative impacts on mule deer and elk in the EIS. Then, if Defendants only

   considered the Unit itself for its cumulative impacts analysis, it must reconsider

   that decision and provide sufficient explanation or expand the area of its analysis to

   comply with NEPA.



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                                     IV.    CONCLUSION

         For the reasons set forth above, the Court concludes that Defendants:

         1. Considered reasonable alternatives to the proposed actions in the EIS and

            EA;

         2. Failed to comply with NEPA by not taking a hard look at the reasonably

            foreseeable indirect impacts of oil and gas;

         3. Took an appropriately hard look at cumulative climate change impacts in

            the EIS and EA;

         4. Sufficiently examined the ecological, economic, and social impacts of the

            Projects’ predicted GHG emissions;

         5. Took a sufficiently hard look in the EIS and EA on the impacts of

            hydraulic fracturing on water resources and human health;

         6. Sufficiently considered the Projects’ impacts on air quality

         7. Sufficiently considered the Projects’ impacts on water quantity;

         8. Failed to comply with NEPA by not taking hard look at the cumulative

            impacts on mule deer and elk. Defendants must clarify the area it used

            when it analyzed the Unit MDP’s cumulative impacts on mule deer and

            elk in the EIS. Then, if Defendants only considered the Unit itself for its

            cumulative impacts analysis, it must reconsider that decision and provide

            sufficient explanation or expand the area of its analysis.




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         Pursuant to the Joint Case Management Plan Order, the parties shall

   address remedies accordant with the present Order in separate briefings. ECF No.

   28 at 7.

         It is ORDERED that counsel for all parties confer and attempt in good faith

   to reach an agreement as to remedies concerning the issues on which Defendants

   were not in compliance with NEPA. If an agreement is not reached, the parties may

   submit briefs. This briefing will consist of one brief from each party, including

   Intervenor-Defendants, not exceeding 4,000 words, including everything from the

   caption to the certificate of service. It shall be filed with the Court on or before May

   6, 2019.

         The Court DEFERS a final ruling on the remedies until further briefing is

   received.



         Dated: March 27, 2019 in Denver, Colorado.

                                                         BY THE COURT:

                                                          s/Lewis T. Babcock     _
                                                         LEWIS T. BABCOCK, JUDGE




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                                       Addendum


    APD        Application for permit to drill

    AR         Administrative record

    BLM        Bureau of Land Management

    CARMMS     Colorado Air Resources Management Modeling Study

    CRVFO      Colorado River Valley Field Office

    EA         Environmental assessment

    EIS        Environmental Impact Statement

    EPA        Environmental Protection Agency

    FONSI      Finding of No Significant Impact

    GHG        Greenhouse gas

    HAP        Hazardous air pollutants

    MDP        Master development plan

    NAAQS      National Ambient Air Quality Standards

    NEPA       National Environmental Protection Act

    RMP        Resource Management Plan

    USFS       United States Forest Service




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